                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF TENNESSEE

DANIEL A. HORWITZ,                         )
                                           )
                     Plaintiff,            )
                                           )   Case No. 3:24-cv-1180
                v.                         )
                                           )
U.S. DISTRICT COURT FOR THE                )
MIDDLE DISTRICT OF TENNESSEE, et al.       )
                                           )
                     Defendants.           )

_____________________________________________________________________________

             PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF A
   TEMPORARY RESTRAINING ORDER & RENEWED MOTION FOR PRELIMINARY
                             INJUNCTION (ECF 21)
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                                       INTRODUCTION

       Daniel Horwitz’s public speech about his litigation in the Middle District of Tennessee

has been unduly restricted since July 2022, when the court granted a motion by CoreCivic to

gag Mr. Horwitz pursuant to Local Rule 83.04. 1 In that gag order, the court applied Rule

83.04 as written—which is to say, in violation of the First Amendment. Rule 83.04(a)(2),

by its plain text, creates a presumption that most things an attorney could say about his cases

are materially prejudicial and, thus, forbidden. 2 That same subsection also places the burden

on the speaker to prove his speech is not harmful. These two features of Subsection (a)(2)

violate the First Amendment and volumes of Supreme Court precedent.

       Ever since the court in Newby v. CoreCivic warned Mr. Horwitz that he could be held

in contempt if he violated Rule 83.04 again, Mr. Horwitz has been litigating under the

constant threat of further enforcement under the rule. That entire time, he has been engaged

in litigation against CoreCivic, a company which has shown it will invoke Rule 83.04 if Mr.

Horwitz talks to the media about his cases. So, to vindicate his right to speak, Mr. Horwitz

has tried persistently to obtain a ruling from the Middle District that clarifies the extent to

which Rule 83.04 can operate consistently with the First Amendment. He appealed the

original gag order and then filed motions in four other cases. When none of that worked, he

filed this lawsuit as a last resort.

       Shortly thereafter, Mr. Horwitz filed a motion for preliminary injunction with this

Court on November 1, 2024. ECF 21. He explained in his motion that, given the plain text

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  Newby v. CoreCivic of Tenn., LLC, No. 22-cv-00093, ECF 53 (a copy of the opinion and order
is attached as Ex. A to the preliminary-injunction motion, ECF 21-3).
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  Subsection (a)(2) enumerates four comprehensive categories of speech: The first covers
comments on things that might be evidence in the case while the fourth covers things that
cannot be evidence in the case. The second covers the character and credibility of the parties
and witnesses, and the third covers the results of tests and examinations.

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of Rule 83.04, how the Middle District has applied it, and CoreCivic’s eagerness to invoke it,

Mr. Horwitz has been forced to forgo extensive opportunities for public commentary about his

litigation—including press releases, social-media posts, and interviews with the press—rather

than risk sanctions or a finding of contempt.         Specifically, the rule’s unconstitutional

presumption of prejudice and burden-shifting provision and its overly broad and vague

categories of content restrictions are forcing Mr. Horwitz to err on the side of silence and

chilling his otherwise legitimate speech about his cases against CoreCivic.

       The government is currently due to file its opposition to the motion for preliminary

injunction on December 27. See ECF 27.

       Unfortunately, the ongoing injury to Mr. Horwitz’s constitutional rights suddenly

became more acute while the motion for preliminary injunction has been pending. CBS News

contacted Mr. Horwitz on Friday, December 13, requesting an interview sometime this week

about Mr. Horwitz’s work litigating against CoreCivic. See Ex. A (a copy of the e-mail

request). Mr. Horwitz would like to participate in that interview and share his clients’ stories,

as the First Amendment ensures his right to do. Horwitz TRO Decl. ¶¶ 4–5. He would also

like to participate in any other interviews that come up during the pendency of his motion for

preliminary injunction, requests which are likely to increase as a new Deputy Attorney General

and U.S. Attorney take over the Department of Justice’s investigation of Trousdale Turner. Id.

¶¶ 9–10. But Mr. Horwitz cannot do so because any interview he gives about CoreCivic is

likely to touch on the very categories of content proscribed by Local Rule 83.04: namely, the

evidence in his cases, things that could not be admitted as evidence in his cases, and the

character and credibility of CoreCivic and its employees, some of whom could be witnesses in

Mr. Horwitz’s cases. See L.R. 83.04(a)(2)(A), (B), (D); see also Tardy v. CoreCivic of

Tennessee LLC, No. 22-cv-00681, ECF 93, at 17 (“Tardy Response Br.”) (CoreCivic arguing


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that Mr. Horwitz’s opinions about CoreCivic count as “inadmissible opinion testimony”).

Consequently, Mr. Horwitz had to decline participating in the interview until he obtained

injunctive relief in this case. Horwitz TRO Decl. ¶¶ 8, 11–14.

       Rule 83.04’s presumption of prejudice and burden-shifting provision—plus CoreCivic’s

past reliance on those provisions to silence Mr. Horwitz—creates a credible fear that Mr.

Horwitz’s interviews with the media will embroil him in a legal process that forces him to

prove the harmlessness of his remarks, under threat of sanctions. By its very structure, Rule

83.04(a)(2) is causing Mr. Horwitz imminent, concrete, and ongoing harm that requires this

Court’s intervention.

       Accordingly, Mr. Horwitz urgently renews his request for a preliminary injunction. See

ECF 21. If this Court would (understandably) prefer to wait for the benefit of the parties’ full

briefing on that motion, Mr. Horwitz asks the Court to enter a temporary restraining order

without delay to preserve his rights until there is time to fully resolve the motion for

preliminary injunction. A temporary order that restrains only Subsection (a)(2) of the rule—

the provision that creates a presumption of prejudice and unconstitutionally shifts the burden

to the speaker—would allow Mr. Horwitz to speak to the media about his cases against

CoreCivic without fear that CoreCivic can invoke the rule without actual evidence of prejudice.

See Stenberg v. Checker Oil Co., 573 F.2d 921, 925 (6th Cir. 1978) (“If the currently existing

status quo itself is causing one of the parties irreparable injury, it is necessary to alter the

situation so as to prevent the injury, either by returning to the last uncontested status quo

between the parties, by the issuance of a mandatory injunction, or by allowing the parties to

take proposed action that the court finds will minimize the irreparable injury.” (cleaned up)).

       There’s little reason to fear that, without Subsection (a)(2) in effect, Mr. Horwitz will

prejudice his other cases or this Court’s ability to ensure the fairness of those proceedings. Mr.


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Horwitz will still be bound by Subsection (a)(1), which codifies the substantial-likelihood-of-

material-prejudice test adopted in Gentile v. State Bar of Nevada, 501 U.S. 1030 (1991). He

is also bound by Rule 3.6 of the Tennessee Rules of Professional Conduct, which codifies the

same standard. Enjoining Subsection (a)(2) would merely put the Middle District’s trial-

publicity rule on par with the Eastern District’s rule and beyond that of the Western District,

which does not have a trial-publicity rule. Indeed, Mr. Horwitz has been unable to find

another federal court with a trial-publicity rule for civil cases like that includes a provision

like Subsection (a)(2).       See also Ex. B (examples of trial-publicity rules without

unconstitutional presumptions and burden-shifting provisions). Most don’t even have trial-

publicity rules.

       A. Without a TRO, Mr. Horwitz will suffer further injury to his First
          Amendment rights.

       Mr. Horwitz has been forced to forgo public comments on his cases against CoreCivic

for over two years. But for Rule 83.04, Mr. Horwitz would immediately use traditional and

social media to tell the public about Shaw and Farrar, 3 his active cases against CoreCivic in

the Middle District—just like he had for other cases until the Newby gag order. See ECF 21-

2 at ¶ 19 (Horwitz PI Decl.). He would also discuss those cases in interviews about the U.S.

Department of Justice’s investigation into Trousdale Turner. Id. ¶ 21. Mr. Horwitz’s clients’

stories, while not “widely publicized,” 4 are each a small part of the story of the rampant civil-


3
  Shaw v. CoreCivic of Tenn., LLC, No. 3:24-cv-0681 (filed June 4, 2024); Farrar v. CoreCivic
of Tenn., LLC, No. 3:24-cv-1140 (filed Sept. 23, 2024).
4
  The government seems to think that injunctive relief is inappropriate because Rule 83.04(b)
allows parties to seek a trial-publicity order in “Widely Publicized and Sensational Cases.”
That position is wrong for two main reasons. First, Mr. Horwitz’s cases are not widely
publicized, as civil-rights violations in CoreCivic’s prisons are far too common for each to
sustain much press attention on its own. Second, Subsection (b) authorizes even more
restrictions on extrajudicial speech in widely publicized cases—not less. Specifically, the rule

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rights abuses in that prison. And Mr. Horwitz has the right to share his clients’ stories with

the public, so that the electorate can understand how CoreCivic carries out the State of

Tennessee’s governmental functions.

       But Mr. Horwitz cannot speak freely about his litigation against CoreCivic because the

private-prison company has already invoked Rule 83.04 against him and demonstrated that

it will do so again each time Mr. Horwitz publicizes his cases or asks the court to permit him

to do so.    Indeed, when asked to comment on this very lawsuit, “CoreCivic said the

organization was aware of the litigation, and their ‘position regarding the local rules of court

involving litigation brought against us has not changed.’” 5 CoreCivic’s position is that Mr.

Horwitz’s “repeated public statements about the Newby case violated Local Rule 83.04, and




authorizes the Middle District to extend Rule 83.04 to “parties and witnesses” instead of just
attorneys. Indeed, Mr. Horwitz has already tried to rely on Subsection (b) and found no
recourse for those very reasons. In the Newby gag order, Magistrate Judge Frensley held as
follows:

       The Court does not find that the present case is currently “widely publicized and
       sensational,” despite Mr. Horwitz’s efforts to make it so. The Court interprets this
       exception to apply to cases where the parties and attorneys have to respond to high
       levels of uninvited media pressure and influence, rather than being designed to allow
       attorneys to encourage media attention and public outcry prior to trial. A special order
       pursuant to L.R. 83.04(b), as requested by Plaintiff’s Motion (Docket No. 41) is
       therefore not appropriate in this case.

ECF 21-3, at 6.
5
  Angele Latham, Nashville attorney fights court gag order for CoreCivic social media posts
around lawsuits, The Tennessean (Oct. 1, 2024), available at https://bit.ly/3YxSaB6; see
also Brandon Lowrey, Battle Over Atty Speech Raises First Amendment Concerns, Law360
(Dec. 16, 2024) (“CoreCivic spokesperson Ryan Gustin told Law360 that the company stands
by Judge Frensley's decision, saying it ‘supports our belief that matters of litigation should be
decided within the court system and not in the press or social media.’”) (A paywalled version
of this article is available at https://bit.ly/3DlUKmF, and a hard copy is attached to this
motion as Exhibit C).
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allowing him to tweet in a similar fashion about [other] case[s] would do the same.” Tardy

Response Br. 15-16.

       The ongoing threat of enforcement creates a here-and-now injury to Mr. Horwitz’s First

Amendment rights. Faith Baptist Church v. Waterford Twp., 522 F. App’x 322, 330-31 (6th

Cir. 2013) (threat of enforcement proscribes the plaintiffs’ speech, creating injury in fact).

That threat is exacerbated by the fact that CoreCivic has invoked Rule 83.04 against

Mr. Horwitz in similar circumstances. Susan B. Anthony List v. Driehaus, 573 U.S. 149, 164

(2014) (past enforcement is “good evidence that the threat of enforcement is not chimerical”

(cleaned up)). And by the fact that CoreCivic maintains the power to initiate enforcement

proceedings again. See McKay v. Federspiel, 823 F.3d 862, 869 (6th Cir. 2016) (considering

“an attribute of the challenged statute that makes enforcement easier or more likely, such as

a provision allowing any member of the public to initiate an enforcement action”); see also

Online Merchants Guild v. Cameron, 995 F.3d 540, 550-52 (6th Cir. 2021) (assessing the

McKay factors, all of which are present here).

       Mr. Horwitz does not need to expose himself to enforcement proceedings to find out

whether his speech will subject him to sanctions. See Steffel v. Thompson, 415 U.S. 452, 459

(1974). He is not free to speak if doing so will force him to defend himself in a legal process

in which he must prove a negative. See Speech First, Inc. v. Schlissel, 939 F.3d 756, 765 (6th

Cir. 2019) (being subjected to a legal process is “a real consequence that objectively chills

speech”).

       Mr. Horwitz’s speech has been unconstitutionally proscribed for years already, when

even a “minimal period[] of time” was enough to irreparably injure his rights. See Sisters for

Life, Inc. v. Louisville-Jefferson County, 56 F.4th 400, 408 (6th Cir. 2022). Without this




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Court’s intervention, Mr. Horwitz will have to pass on yet another opportunity to discuss his

clients’ cases against CoreCivic—this time with a national audience.

       B. Subsection (a)(2) is facially unconstitutional.

       Given the imminent and concrete injury that Mr. Horwitz must endure until this Court

intervenes, a temporary restraining order is appropriate. The merits of Subsection (a)(2) are

hardly in doubt.    As Mr. Horwitz explained in support of his motion for preliminary

injunction, the Supreme Court has held for generations that the First Amendment “demands”

that courts presume that speech is constitutional and that restrictions on speech are not. See

Ashcroft v. ACLU, 542 U.S. 656, 660 (2004) (emphasis added); see also FEC v. Cruz, 596

U.S. 289, 305 (2022) (“When the Government restricts speech, the Government bears the

burden of proving the constitutionality of its actions.”); Nat’l Inst. of Fam. & Life Advocs. v.

Becerra, 585 U.S. 755, 776 (2018) (same); Citizens United v. FEC, 558 U.S. 310, 340 (2010)

(strict scrutiny places the burden of proof on the government); McCutcheon v. FEC, 572 U.S.

185, 210 (2014) (plurality opinion) (same); United States v. Alvarez, 567 U.S. 709, 726

(2012) (plurality opinion) (“the Government’s heavy burden … to regulate protected

speech”); United States v. Playboy Enter. Grp., Inc., 529 U.S. 803, 816 (2000) (same);

Greater New Orleans Broad. Ass’n, Inc. v. United States, 527 U.S. 173, 183 (1999) (“[T]he

Government bears the burden of identifying a substantial interest and justifying the challenged

restriction.”); Reno v. ACLU, 521 U.S. 844, 879 (1997) (“an especially heavy burden on the

Government”); Bd. of Trs. of State Univ. of N.Y. v. Fox, 492 U.S. 469, 480 (1989) (“[T]he

State bears the burden of justifying its restrictions[.]”); Bolger v. Youngs Drug Prods. Corp.,

463 U.S. 60, 71 n.20 (1983) (“The party seeking to uphold a restriction on commercial speech

carries the burden of justifying it.”); Elrod v. Burns, 427 U.S. 347, 362 (1976) (“[T]he burden

is on the government to show the existence of such an interest.”); Tinker v. Des Moines Indep.


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Cmty. Sch. Dist., 393 U.S. 503, 509 (1969) (The state “must be able to show that its action

was” justified.); Freedman v. Maryland, 380 U.S. 51, 58 (1965) (ruling that the burden of

proof “must rest on the censor”); Bates v. City of Little Rock, 361 U.S. 516, 524 (1960)

(“[T]he State may prevail only upon showing a subordinating interest which is compelling.’”).

       Rule 83.04(a)(2) flips this constitutional presumption on its head. By placing the

burden on Mr. Horwitz to prove the lack of prejudice, Rule 83.04(a)(2) upsets the “finely

drawn” balance between protected speech and that which courts can censor. See Playboy, 529

U.S. at 817. As a result, Subsection (a)(2) continue to “exact[] an extraordinary cost” on

Mr. Horwitz. See id. Both the equities and the public interest support an injunction alleviating

that cost until this case is resolved. See Sisters for Life, 56 F.4th at 409; G & V Lounge, Inc.

v. Mich. Liquor Control Comm’n, 23 F.3d 1071, 1079 (6th Cir. 1994).

                                        CONCLUSION

       This Court should grant Mr. Horwitz’s motion to preliminarily enjoin the Middle

District and its judges from applying Rule 83.04 to restrict Mr. Horwitz’s out-of-court speech

unless a party-opponent produces real evidence that a specific thing Mr. Horwitz said is

substantially likely to materially prejudice proceedings and that no less-restrictive means

would prevent that prejudice. In the meantime, this Court should temporarily enjoin the

Middle District’s enforcement of Local Rule 83.04(a)(2) as to Mr. Horwitz pending the

resolution of the motion for preliminary injunction. 6



Dated: December 18, 2024.


6
  To the extent the federal rules require notice to Defendants beyond service of this motion
through CM/ECF, lead counsel for Mr. Horwitz certifies that he gave notice of Mr. Horwitz’s
intent to file this motion by email to the government’s counsel, after attempting to reach an
agreement that would avoid the need for a temporary restraining order. See Fed. R. Civ. P.
65(b)(1)(B); McClain Decl. at ¶¶ 4–8.
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                                               Respectfully,


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